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              IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION




UNITED STATES OF AMERICA


vs.                                NO.   4:06CR00352-004        SWW


SHANNA LEIGH CUNNINGHAM




                               AMENDED ORDER
      Pending before the Court are the government’s motions to revoke

conditions of supervised release as to the above-named defendant.             A

hearing was held May 13, 2010 and then the matter was continued to

September 14, 2010.   The Court found that defendant was in violation of

the conditions of supervised release, however, the Court further found

that the defendant’s supervised release should not be revoked at this

time, but instead that a modification of conditions of release would be

imposed extending the supervised release for one (1) year. Following the

hearing it was brought to the Court’s attention that the          modification

did not fall into the Guideline or Statutory Provisions.

      IT IS THEREFORE ORDERED that government’s motions for revocation of

supervised release [doc #131 & #137] are GRANTED and defendant hereby is

sentenced to TIME SERVED AND ONE (1) YEAR OF SUPERVISED RELEASE TO FOLLOW

including additional conditions.

      1.   Defendant shall serve a period of SEVEN (7) MONTHS in home
      detention with electronic monitoring. The cost of such monitoring
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     is to be paid by the United States Probation Office.

     2. Defendant shall participate, under the guidance and supervision
     of the U. S. Probation Officer, in a substance abuse treatment
     program which may include testing, out-patient counseling, and/or
     residential treatment. Further, defendant shall abstain from the
     use of alcohol throughout the course of any treatment.

     3. Defendant shall participate in mental health counseling under
     the guidance and supervision of the U.S. Probation Office.

     4. Defendant shall maintain employment or be actively seeking
     employment if not granted disability.

     5.   Defendant shall sign releases to allow the U. S. Probation
     Office access to defendant’s medical records and prescription
     information.

     6. Defendant shall sign a release to allow U. S. Probation Office
     access to defendant’s disability records.

     7.   Defendant shall participate in Narcotics Anonymous on a daily
     basis under the guidance and supervision of the U. S. Probation
     Office.

     All general, standard and special conditions previously imposed

remain in full force and effect.

     IT IS SO ORDERED this 16th    day of September 2010.


                                        /s/Susan Webber Wright
                                        UNITED STATES DISTRICT JUDGE
